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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   JOAN WHITNEY,

          Plaintiff,                                            CASE NO:

   vs.

   NRA GROUP, LLC (a foreign
   limited liability company),

                   Defendants


         IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                INA DN FOR HILLSBOROUGH COUNTY, FLORIDA
                              CIVIL DIVISION

   JOAN WHITNEY,

          Plaintiff,                                            CASE NO: ll-CC-01659
                                                                DIVISION: I
   vs.

   NRA GROUP, LLC (a foreign
   limited liability company),

          Defendants.


                                 PETITION FOR REMOVAL

   TO:     The Honorable Judges of the United States District Court for the Middle District of
   Florida

          NOW COMES Defendant and Petitioner for removal, .NRA GROUP LLC (a

   foreign limited liability company), and with reservation of all rights, hereby removes from

   the County Court for Hillsborough County, Florida, the proceeding entitled and captioned:

   Joan Whitney vs. NRA Group LLC ( a foreign limited liability company). Case No. 11 -cc-

   01659, on the basis of federal question jurisdiction.
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          The Petition is based on the following grounds:

          1. Defendant/Petitioner, has been named as a Defendant in a civil action brought

  against it in the County Court in and for Hillsborough County Florida, Joan Whitney vs.

  NRA Group LLC ( a foreign limited liability company). Case No. 11-cc- 01659A copy of

  the Complaint filed in the action, in addition to all process and pleadings served upon

   Defendant/Petitioner, are provided on the attached disk in pdf format.

          2. The Complaint asserts a claim for alleged violations of the Fair Debt

   Collection Practices Act, 15 U.S.C. 1692a, etseq.

          3. The above-described action is a civil action over which this Court has original

  jurisdiction under the provisions of 28 U.S.C. §1331, and is one that may be removed to

   this Court by the Defendant/Petitioner pursuant to the provisions of 28 U.S.C. §1441(a),

   in that it is a civil action based upon a federal question over which this Court has original

  jurisdiction.

          4. This Petition for Removal is filed with this Court within thirty (30) days after

   the Complaint was served and is, therefore, timely pursuant to 28 U.S.C. §1446(b).

          WHEREFORE, Defendant prays that the above entitled action be removed from

   the County Court in and for Sarasota County, Florida, to the United States District Court

   for the Middle District of Florida, Tampa Division, for all further proceedings.
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                              Respectfully submitted by:


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                             CERTIFICATE OF SERVICE

        I HERE BY CERTIFY that a true and correct copy of the foregoing has been

 furnished via facsimile and regular U.S. mail this 22 day of February, 2011 to James S,

 Giardina, Esq., THE CONSUMER RIGHTS LAW GROUP, PLLC, 3802 Bay to Bay

 Blvd., Ste. 11, Tampa, Florida 33629.



                                             By:
                                                    Sangeeia Spengler, Esqjiire
                                                    Florida Bar No.: 0186864
